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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

JOHN DOE,

       Plaintiff,

v.                                                        Case No.: 4:19-cv-00300-JMB

WASHINGTON UNIVERSITY,

       Defendant.



              MOTION OF DEFENDANT WASHINGTON UNIVERSITY
          TO DISMISS PLAINTIFF’S COMPLAINT FOR FAILURE TO STATE
                A CLAIM UPON WHICH RELIEF MAY BE GRANTED

       Defendant Washington University (the “University”) hereby moves pursuant to

Fed.R.Civ.P. 12(b)(6) to dismiss each count of Plaintiff’s Complaint for failure to state a claim

upon which relief may be granted. This action by a former student of a private university

seeking judicial review and reversal of his expulsion fails as a matter of law to state claims

under any of the putative constitutional, statutory, and state common law causes of action alleged

in the Complaint and must be dismissed.

       In support of its Motion, the University files herewith and incorporates herein by

reference its Memorandum in Support of Motion to Dismiss.

       WHEREFORE, Defendant Washington University respectfully requests that its Motion to

Dismiss be granted and that Plaintiff’s Complaint be dismissed in its entirety.
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                                              HAAR & WOODS, LLP



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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of April, 2019, the foregoing was filed electronically
to be served by operation of the CM/ECF system upon all counsel of record.



                                              ____/s/ Robert T. Haar______________




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